                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE

    DONALD W. ACTON,                            )
    and MARY K. ACTON,                          )
                                                )
              Plaintiffs,                       )      No. 3:12-cv-00532
                                                )      Phillips/Guyton
    v.                                          )
                                                )      JURY DEMANDED
    REGIONS BANK,                               )
                                                )
              Defendant.                        )

    ________________________________________________________________________

     JOINT MOTION FOR AGREED ORDER OF DISMISSAL WITH PREJUDICE
    ________________________________________________________________________

              Pursuant to Local Rule 68.1, the parties, through their undersigned counsel,

    jointly move for entry of the attached Agreed Order of Dismissal with Prejudice in this

    action.

                                                Respectfully submitted,

                                                HODGES, DOUGHTY & CARSON,
                                                PLLC

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Case 3:12-cv-00532-HSM-HBG Document 14 Filed 09/12/13 Page 1 of 2 PageID #: 59
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Case 3:12-cv-00532-HSM-HBG Document 14 Filed 09/12/13 Page 2 of 2 PageID #: 60
